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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________

UNITED STATES OF AMERICA,

              v.
                                                                     15-CR-33-A
AARON HICKS,                                                          ORDER

                Defendant.
__________________________________

     Upon consideration of the oral motion by the Defendant’s counsel, Robert Ross

Fogg, Esq., and given the established relationship between the Defendant and Mr. Fogg,

the Court finds that, “in the interest of justice, judicial economy, [and] continuity of

representation,” it is appropriate to appoint Mr. Fogg to the Western District of New York’s

Criminal Justice Act (CJA) Panel pro hac vice, pursuant to CJA Guideline § 210.30.30.

     The Court also finds that it is appropriate to appoint Mr. Fogg to represent the

Defendant, under the CJA, for the remainder of this case. The circumstances surrounding

Mr. Fogg’s motion are “sufficiently unusual and extenuating as to justify [such] relief.”

United States v. Herbawi, 913 F. Supp. 170, 172 (W.D.N.Y. 1996). See 18 U.S.C.

§ 3006A(c). Specifically, the necessity of a retrial on a substantial part of the superseding

indictment was likely not a circumstance within the parties’ reasonable contemplation at

the time Mr. Fogg was retained. Thus, the Court finds that Mr. Fogg’s application is made

in good faith and is not an attempt to circumvent the requirements of the CJA.

SO ORDERED.

Dated: February 15, 2018                           _s/Richard J. Arcara_________
       Buffalo, New York                           HONORABLE RICHARD J. ARCARA
                                                   UNITED STATES DISTRICT JUDGE




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